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FoR THE WESTERN DIsTRICT oF TENNESSEE

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UNITED srArEs oF AMERICA ) \(-5" \ m "E "`pH‘S
Plaintiff, §

vs § CASE No. 2:04CR20079_M1

MARK srRArGHT §
Defendant. ))
)

 

*S-E-C-O-N-D E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Mark Straight, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau of Prisons by reporting to FMC Lexington, 3301 Leestown,
Lexiugton, KY, 40511 , by 2:00 p.m. on MONDAY, JUNE 6, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/’she Will
report as ordered to the facility named above.
ENTERED this the _£day of May, 2005

@W‘@Qt

JO PHIPPS McCALLA
U ITED STATES DIS'I`RICT JUDGE

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ACKNOWLEDGEMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 59 in
case 2:04-CR-20079 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

